
Upon Motion this day, made unto this Court, by Mr. Hume of Counsel for the Defendants (Mr. Whitaker, the Complainants Counsel being present) the Order of this Court of the 15th December last past, for dissolving the Injunction obtained by the Complainant for stay of the Defendants proceedings at Law, being read, was approved of arid confirmed.
Intr.
Thos Lamboll Deputy Register
Present, His Excellency The Governour, The Honourable Arthur Middleton,8 William Bull, Charles Hart, William Gibbon, Benjamin De La Con-seillere, Esquires of His Majesty’s honourable Council Chancellour; Mr. William Tunley Master in Chancery.
